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               Letters of Support
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                                       United States District Court Judge
                                       Albert V. Bryan U.S. Courthouse
                                     401 Courthouse Square
                                       Alexandria, VA 22314




Greetings Honorable Liam O’Grady,

My name is Melvin Russell and I retired from The Baltimore City Police
Department (BPD) as The Acting Deputy Commissioner of Administration and
Chief/Colonel of The Community Collaboration Division. I had the honor of
serving with BPD from 1979 to 2019. Since 1990, I've also been a faithful
member of New Beginnings Church in Baltimore City and serving as the assistant
pastor since 2010.

From 1986 to 2007 I spent all of those years, except one, working as a narcotic
enforcer, undercover officer, and supervisor from police district levels to major
narcotic investigation units to multiple High Intensity Drug Trafficking Area
(H.I.T.D.A.) federal task forces. Over the course of my narcotic career, I arrested
well over 5,000 individuals, drafted hundreds of search and seizure warrants,
conducted and been a part of dozens of Title III wiretaps, and been on countless
drug raids. It was the massive amount of narcotic work that I conducted
that demanded an enormous amount of my time in the Circuit Courts of Baltimore
City and The United States District Court for the District of Maryland. Over the
course of my narcotic career, I developed some wonderful relationships (a few not
so much) with judges, prosecutors, and defense attorneys. Your honor in being
very candid with you as it relates to defense attorneys I've experienced the good,
the bad, and the ugly. I've had multiple interactions in and out of the courtroom
with defense attorneys whose unethical practices and corruptible nature troubled
me deeply. I've watched as many of those attorneys self-imploded and had great
downfalls over the years. Then there were those attorneys that were brilliant
litigators and strategists who never cut corners or crossed the line of lawfulness or
romancing unethical behavior. It was the latter that I loved professionally battling
truths and wits in the courtroom. I came to know Kenneth Ravenell, Esq, in one of
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those courtroom battles in the late '80s or early '90s. I would go on to get to know
Ken better and better through the years as both his and my careers and honorable
reputations flourished together in the city of Baltimore. As I was taking down
narcotic kingpins and violent offenders Ken was often the attorney providing the
proper representation that everyone is entitled to. Ken and I had heated, but
professional courtroom exchanges through the years, and because of his character I
absolutely would classify Ken as one of those brilliant litigators and
strategists who never cut corners or crossed the line of lawfulness or romancing
unethical behavior. I have the pleasure of knowing Ken's wife Kaye. I have
known Kaye since the '90s as she use to be an extremely talented courtroom
stenographer and known to be a virtuous woman of God. As a matter of fact, Kaye
use to be a faithful member of my church for some years. Ken and Kaye have
always appeared to be a happily married couple.

It would be in the year 2007 that I left the field of narcotic enforcement and began
to climb the management ranks with BPD. By 2015 I was the LT. Colonel (chief)
in charge of the then Community Partnership Division for BPD. The 2015
Uprising had scorched Baltimore city and taken a toll on me physically and
mentally as I desperately worked to restore peace between the police and
community. About 3 months after the Uprising my firstborn son was arrested for
1st-degree murder. What the masses didn't know was that my then 28-year-old son
was diagnosed with schizophrenia when he was 19 years old. My son had just
been placed with a new roommate in his mental health care residency when that
roommate allegedly stole property from my son. My son confronted his new
roommate and was attacked with a knife being stabbed 6 times about his torso and
arms. My son would say it dawned on him that his roommate was trying to kill
him, when my son fought back, overpowered his roommate, and subsequently
stabbed his roommate with the same knife twice ending his life. I mentioned this
because I had become extremely popular as a man of peace, law, and order
throughout Baltimore and I feared for my son's life as he had already admitted to
stabbing his roommate without having an attorney present. I feared for my son's
life as he is my namesake and although I am well respected even amongst
lawbreakers, I wondered how safe would my son be incarcerated. As I spoke with
my family to retain counsel for my son only two names of all the defense attorneys
that I know would give me peace in my mind's eye to place the trust and care of
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my son into their hands. My family and I wanted someone we knew, who was
relatable, honorable, and would treat my son as their own. So I called my friend
the honorable Kenneth Ravenell, Esq. In all my years of knowing him I had never
seen or even heard rumored that Ken was ... please allow me to speak a little coarse
yet plain here ... shady, on the take, "in bed" with any criminals or corrupt in any
way. My family and I needed a man of honor who was not tainted in any fashion
to represent my son, the son of a father who was a favorite son of Baltimore known
as Chief, Pops, Unc, Pastor, Brother, Friend, and Mentor to the masses. No one
would have fit that bill better than my friend and courtroom chess mate, Ken
Ravenell. Ken would go on to fight valiantly for my son and ultimately convince
the presiding judge that my son needed mental health care and not to be
incarcerated. With that my son received time served and 5 years of supervised
probation as well as the care he desperately needs. My son met with that presiding
judge, all his care providers, and family members, and although it wasn't required
Ken choose to be part of that virtual meeting and also speak on my son's behalf.
The presiding judge was extremely impressed with the outpouring of support for
my son and becase of testimonies from those like Ken, that judge concluded my
son's probation period on that day, February 9, 2022!

In closing Honorable Liam O’Grady, I am submitting this letter in support of my
friend Ken not just because of what he has meant and done for me or my family,
but for how he has honorably served the citizens of Baltimore in their times of
needing an honorably and exemplary defense attorney that wouldn't travel down
the crooked path to seek justice, but rather would venture down the straight and
narrow path that leads to righteous justice. Your honor, I don't do many letters of
support as I am careful as to whom I attach my name and reputation, but I have
chosen to submit this one to you. Of course, I am sorrowful to hear of Ken's
conviction in the matter before you, but I pray you to consider my descriptive
characterization of my friend and take it into consideration before your sentencing
of Ken. Feel free to contact me with any questions.



Sincerely and Blessings,
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(Retired) Chief Melvin Russell

410 952-9855 Mobile
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EXHIBIT 13
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                                                                   Walter Mandela Lomax
                                                                                                                                    tsFf       E


                                                           Maryland Restorative Justice lnitiative
                                                                      P.O. Box 33313                                          ffi                  ---:r
                                                                Baltimore, Maryland 21218

                               The Honorable Liam O'Grady
                               United States District Court Judge
Executive Díreclor,            Albert V. Bryan U.S. Courthouse
Watter tvtan¿ela l-oma"        401 Courthouse Square
                               Alexandria, VA22314
Secretarv
Laurie Bezold,                                                                Ãpri!5,2022
Fusion Partnership Inc.        Re: Kenneth Ravenell.

Technicøl Advìsor              It is with greatsadness that I find myself writing this letter for my dear friend, Kenneth Ravenell. I
Retired Delegate               say that I am sad to write this letter, because my friend is dealing with this difficult situation; and I use
Clarence T. Davis.
                               the term unfoftunate, because this is not the person I know, who is a decent, good and honest man.
Tiger Associates LLC

                               Let me be specific, I met Ken when testifyingata court hearing for one of his clients on a sentence
Sponsors
                               modification, and was impressed with his representation. I am not sure if he was aware of my personal
Baltimore OSI
Baltimore Safe & Sound
                               situation at the time. I had served close to forty years in prison for crimes I did not commit.
Fusion Partnerships, Inc.
Maryland CURE                  Fast forward, many years later the attorney representing me in my wrongful conviction petition, Philip
Morgan State University        T. Inglima, at Crowell & Moring LLP, wanted someone to represent me on the petition in Baltimore
Dept. of Social Work           City. He had attended school with Billy Murphy's son, Hassan, and decided to contact him to see if he
                               would consider representing me. At the time Kenneth was a partner with the Murphy Law firm, and
Sapporters:                    remembered me assisting his client years earlier. Not only did they decide to represent me in the case,
                               but they did so pro-bono. Kenneth personally made the legal argument in court with such compassion
ACLU Maryland                  that the State of Maryland conceded, and supported my petition for actual innocence. Because of that
                               success, we now have Senate Bill 14. Compensation to lndividLlal l'.rroneously Convicted, Sentenced.
Community Conferencing         and Confined ('fhe Walter l.,omax Act).

Conectional Round-Table        In closing, my friend may be facing this difficult situation, but he is still my friend, and always will
                               be. I will never forget how compassionate he was in representing my actual innocent petition, and
Grassroots Crirninal Justice
                               how he treated my family when doing so. The accompanying photos were taken on the day I was
Advocates Nctrvork
                               fÏnally a free man.
MSBA Correctional
Section

The Justice Policy Institute

'Ihe Sentencing Pro.lect

                               Maryland Restorative Justice Initiative
                               Waltermandal alomax @hoïmail. com
                               mrji.org
                               mandalaenterpri         s   e.   org
                               443-413-6076
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                               Walter Mandela Lomax
                       Maryland Restorative Justice lnitiative
                                  P.O. Box 33313
                            Baltimore, Maryland 21218
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EXHIBIT 14
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Kwame Rose                     612 Brookwood Road Baltimore, MD 21229                krose@afscme67.org

April 15, 2022

The Honorable Liam O’Grady
United States District Court Judge
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
Alexandria, VA 22314


Dear Judge O’Grady,

I write this letter to express my support for my lawyer, mentor, and most importantly my friend Kenneth
Ravenell. I was introduced to Mr. Ravenell six years ago after being arrested by Baltimore City Sheriff
Officers outside of the Mitchell court house while attending a peaceful protest. This was my second time
being unjustifiably arrested for exercising my First Amendment Rights, but this was the first time I had
an attorney who was willing to fight to clear my name.

At the time I had no idea who Mr. Ravenell was. I remember sitting in the Court room and noticing that
dozens of law school students started filling in the seats. I leaned over to my co-counsel David Rocah of
the ACLU and asked “why are all of these people here?” to which he responded “they are here to watch
Ken work”. On that day, I got to witness a man give meaning to the title “Esquire”. With my freedom on
the line, Mr. Ravenell defended my Constitutional Rights, and credibility in the same manner of style and
grace that Julius Erving us to dribble a basketball.

I have always been grateful for the fact that Mr. Ravenell took time out of his busy schedule to take up
my case pro bono, but I am even more grateful for the life lessons he taught me then and continues to
teach me now. One day while attending court, I decided to make a fashion statement and not wear a
suit. Ken reminded me of how to present myself with respect to the court, with both my presence and
attire. There was a period after the case where I had grown fearful of being targeted for protesting, so I
stopped. Last summer Mr. Ravenell called me and reminded me to never let anyone silence my voice, in
this particular case there was a young child another client of his named Kodi Gaines, who needed my
help.

Mr. Ravenell has had a long career of representing people to the highest degree, but I believe that it is
his work defending victims of brutality in an effort to create change and justice that sets him apart.
Whether it has been through representing the family of Anton Black who died in custody of Greensboro,
MD Police., or representing Kodi Gaines who was shot by the same bullet that went through and killed
his mother Korryn, fired by Baltimore County Police Officers. Mr. Ravenell has been a constant voice
empowering others.

Your Honor, Galatians 6:1 reads “if anyone is caught in any transgression, you who are spiritual should
restore him in a spirit of gentleness. Keep watch on yourself, lest you too be tempted”. I urge you to
recognize the good that Mr. Ravenell has done, and will continue to do if given the opportunity. I stand
with countless members of the community and those dedicated to restoring justice to this world in
asking that you allow Mr. Ravenll to continue to remain on this mission with us.

In solidarity,
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April 10, 2022

The Honorable Liam O’Grady
United States District Court


Subject: Character Letter on Behalf of Kenneth W. Ravenell

Dear Judge O’Grady:

I am Kaye Ravenell, Kenneth Ravenell’s wife. I remember the first time I saw Ken, and he made
such an impression, that it is with me to this day. In 1990, I began working as an Official Court
Reporter in the Circuit Court for Baltimore City. One Friday afternoon, Ken Ravenell walked
into my courtroom pulling a very large black case behind him, in which he kept all his file
folders and trial prep for whichever case he was working on. I thought, “Oh, no. This man is
not expecting to start a trial on a Friday afternoon.” Mind you, we had a jury in deliberations
from a trial we had just completed. When the Judge asked if everyone was ready for trial, I
expected someone would say, yes, can we start picking the jury on Monday. But Mr. Ravenell
said, “I am ready for trial, Judge, I have pre-trial motions, and I’m ready to begin.” And so we
did.

I worked in the Circuit Court for 19 years as a Court Reporter and, over the years, watched Ken
try numerous cases and make incredible legal arguments on behalf of his clients, always being
well-versed in applicable law. Ken always walked into a courtroom prepared to passionately
defend his client, no matter whether it was the plaintiff or defendant. He normally starts his day
at 3:00 or 4:00 a.m. when he is getting ready for court proceedings. His incredible work inside
the courtroom is a true representation of the long hours spent preparing his cases outside of the
courtroom. His success is not the product of smoke and mirrors, but rather good old fashioned
hard work and determination.

Although over the years I have had several opportunities to see him try cases and defend his
clients, I gained a true understanding of his legal reputation by listening to others speak of his
accomplishments over the years. Individuals and their families would share with me how he
helped them, oftentimes pro bono. I have also attended judicial conferences with Ken and
listened to judges and lawyers speak of his great reputation throughout the legal community.

One particular situation I recall involved a friend’s son, who was falsely accused of rape while in
college and was in jeopardy of being expelled and losing his tennis scholarship. Ken
represented this client pro bono, winning the case, and his client ultimately went on to graduate
and now has a career coaching tennis for a local university, something that would not have been
possible but for Ken’s tireless fight for the truth to come out. He has also represented military
personnel, who were in danger of losing their career in the military because of a false accusation.
I am proud to say that several of Ken’s former African American male clients have gone on to
have successful careers in many different fields, such as the government, lawyers, business
owners, doctors, politicians, et cetera, which would not have been achieved with a criminal
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record. His entire career has been dedicated to helping people.

As a Court Official, I have had the opportunity to hear court proceedings in Attorney Grievance
matters where young lawyers, without mentors or guidance from a senior lawyer, have started
law practices and failed, lost their licenses, been disbarred, for lack of having someone helping
them navigate all the intricacies of practicing law. Ken has been instrumental in helping several
young attorneys become very successful in their careers. Erin Murphy, Counsel to the State’s
Attorney; Creston Smith, successful law practice in Baltimore; Josh Morrow, Federal prosecutor;
Brendon Hurson, US Magistrate; Milin Chun, successful attorney in California, to name a few,
all started their careers with Ken as their mentor.

Ken has always been there for me and my family over the course of the past 17 years. He was
supportive when my father passed away in 2009, my mother in 2018, my brother in 2019 and
most recently, my sister, in the fall of 2021. When tragedy strikes a family, it is so hard to see
past your grief in order to do what is necessary to carry on, and Ken always shared the burden
with me in the hard times. Ken’s family is very loving and supportive as well. I could not ask to
be part of a better family. They have come together to show their love and support for the
brother, cousin, uncle, whom they love and respect. Ken has also been an incredible second
father to my daughter, who is currently attending college at the University of Tampa.

Ken is a Christian man who regularly attends church services. He has participated in worship
retreats with other men in our church. He prays every day for all of the people in his life. He is a
family man with great faith who has always been the one to carry the burden of keeping us
focused on what’s most important, God and family.

Throughout the past eight years, we have been faced with a terrible hardship. Even though he
was under investigation by the government, he never stopped working to help people who called
on him, even though he was facing an uncertain future himself. His colleagues never stopped
calling on him for advice in their cases. Throughout all that he has been going through, he has
continued to work tirelessly in doing what God has called him to do and that is to be a servant to
others.

I was present in the courtroom each and every day for Ken’s trial proceedings. I heard and saw
things that were very difficult for me to accept. Some of the things that I learned have had an
adverse effect on our marriage. However, we are in this marriage together and are both
committed to work through the challenges we face together.

I can wholeheartedly say that absolutely nothing that was said or revealed during the course of
Ken’s trial will ever change my opinion of his innocence, dedication to the legal community or
his desire to help others. He has always been an extremely well-respected attorney, who loves
and respects the law. Even with this conviction and a heavy heart for what he’s facing, he still
manages to face the day with determination and a positive outlook, knowing that God is with him
throughout this journey.

My prayer is that you find it in your heart to reverse the conviction for money laundering and/or
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grant Ken a new trial in that matter. We have been suffering through this for the past eight years
and we will be forever changed because of it. I am asking that you find it in your heart to not
incarcerate Ken while he works through his appeal process.

Thank you for all the time you have given to this matter.

Respectfully,


M. Kaye Ravenell
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EXHIBIT 17
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January 6, 2022


Honorable Joseph M. Getty, Chief Judge
Robert C. Murphy Courts of Appeal Building
361 Rowe Boulevard
Annapolis, Maryland 21401

       Re:     Kenneth W. Ravenell

Dear Judge Getty:

        On August 1, 2016, my son, Kodi Gaines, was shot twice by an officer with the Baltimore
County Police Department. My son’s mother, Korryn Gaines, was shot and killed in the same
incident, and my son, then 5 years old, witnessed her death. This was a severely traumatic event.
The shock of this event still impacts my son, both physically and psychologically. Ken has been
extremely devoted to my son throughout this long process. Ken has been focused like a laser on
justice for Kodi and for getting Kodi the compensation necessary for Kodi to receive the medical
and psychological treatment that he needs to become a better person and lead a productive life.

         I retained Ken shortly after the shooting. He immediately gathered and started prosecuting
the case against Baltimore County and the officers involved. I know that he took over 20
depositions of all the witnesses involved, and that he visited the apartment where the shooting
occurred on at least two occasions. I was present during the entire three-week trial. Ken was
amazing. He was organized, prepared, knowledgeable and incredibly engaging with the jury. He
was also careful not re-traumatize my son. We won a large verdict that the trial court took away.
Ken then argued the appeal and we won. Ken argued motions before the trial court in November.
If the trial court makes another mistake, our plan is to appeal once again. It is imperative for my
son Kodi that Ken be allowed to continue to represent his interests.

         I am respectfully asking that this Court allow Ken to continue to represent the interests of
my son in this matter. Ken has always kept me up to date on everything that has happened over
the past 5 years and has been 100% in our corner in his legal support and advise. He has been so
very caring and considerate of my son who was permanently damaged. It will hurt my son a great
deal if Ken isn’t allowed to continue his representation. My son has already been traumatized and
I ask that he not be traumatized again if Ken is prohibited from representing Kodi. Now that I have
sat through and entire case that was tried before a jury and argued before another court in
Annapolis, I have an understanding of the court system. I believe that the court system should
seriously consider the impact of their rulings and allow Ken to continue represent my son in this
life-altering and very serious manner.
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Thank you for your time.

                                   Sincerely,



                                   Corey Cunningham,
                                   Father of Kodi Gaines
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                      UNITY MISSIONARY BAPTIST
                            Reverend Aaron T. Brown, Sr., Pastor

April3,2022

Hon. Liam O'Grady
United States District Judge

Subject: Character Letter on behalf of Kenneth Ravenell

Dear Judge O'Grady:

I am Aaron T. Brown and I served as Kenneth Ravenell's pastor of the Unity Missionary
Baptist Church, Eutawville, SC. I am blessed to serve as his pastor for twelve years.
Although he resides in Maryland, Kenneth continues to be an active member of our
congregation. He supports the church through various programs and events. He
attends and participates in worship services whenever he is at home.

I have always been encouraged by his journey as a young man raised by godly parents
who instilled in him the importance of having a relationship with Jesus Christ and
showing love for his fellow man. Bro. Ravenell's life story and his journey are so
inspirational that I asked him to be the speaker for our Annual Black History on Sunday,
February 19,2017. Bro. Ravenell encouraged everyone in attendance about how his
faith in God and family values have helped him accomplish great things in life.

Bro. Ravenell has sown into the lives of many members of our congregation. He is a
supporter of our youth. He contributes to the Rev. Francis and Daisy Ravenell
Scholarship which has blessed so many of our young people who have attended and
graduated from colleges and universities across this country.

Bro. Ravenell is a giver because he has a desire to see others make great
accomplishments in their lives.

Bro. Ravenell has been a great supporter and encourager to me. As Pastor, he has
always expressed his concerns for me and my family, especially during the illness of my
wife and children. His constant words of encouragement strengthen and inspired me. I
am blessed to serve as his pastor. I am praying and pleading for leniency for Bro.
Kenneth Ravenell. Bro. Kenneth Ravenell is a person of good moral character and a
great blessing to the Unity Missionary Baptist Church family.

Sincerely,
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                Lva,44            .
                                      lr,/L-'
Aaron T.              ,sr
                            Baptist Church




                               P.O. Box267                       PHONE      803-492-82 10 | 843-7 53-7 67 6
             5Qfit,
                               14152 Old Number Six Highway      EMAIL      unitymbchurch@centurylinknet
                               Eutawville Sout} Carolina 29048   WEB SITE   unitymbchurch.org
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EXHIBIT 23
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                                                                                                       î
                                                              Giving People Hope...One Word At   A Time

The Rotunda
711 W.40th Street
Suite 310
Baltimore, MarYland 212I I

410.889.5487
410.889.5363 fax


Ghlel Execüilue   0lllccf
                               April5,2022
Marcy K. KolodnY

Boafd 0l lllfcct0rs


 Stephen Anderson              The Honorable Liam O'GradY
 David J. Berg
                               United States District Court Judge
 Elayne Berg
                               Albert V. BrYan U.S. Courthouse
 Nicole Bliss
 Tim Bojanowski
                               401 Courthouse Square
 Isaiah Buchanan               Alexandria,V A 22314
 Joseph Ciotola, M.D.
 Keith Collison                Dear Judge O'GradY:
 Joseph Cowan
                                                                                        Tutoring-Program (DTP),Tl
                                I.am Marcy K. Kolodny and am CEO of Dyslexia
 Carolyn Donohue
                                                                                      support ot Kennetn l(avenetr'
                                Baltiníorri; Märylaiid;t I arn wiiting this lettei in
 Judy Morrison
 David Schriver
  Scott Schuebel
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  Ben Shifrin                   I met kèn a,n.rmber of years ago at an event ?nd
  Russel White                  i*irî*.ìï în                        that DrP provides add aÀked'me a'lot of
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  Aúrlsory Gouncll              charge.
                                :. 'i.-.'i   1.. . . '   ':
  Ann M. Bain, Ed.D'
                                                                               adults who are dyslexic or-have a
  Rosetta DeVito+               DTP only works with low-income children and
                                                                                 later, Ken and I met for lunch' and
                                language-based learning disability. A few weeks
  Alice Koontz*
                                                                                          member' His immediate
                                I asked hirn if he *oofài" interested in becoming a board
  James Morgan
  Lawrence C. Pakula, M.D'
  M. BradleY Rogers, Jr.        fesponse was yes'
  Roger Saunders, Ph.D.*
                                                                                    out to our board, and he was
   Jane R. Snider, Ed.D'        Before our next board meeting, I sent Ken',s Ïesume
                                                                               Berg, a DTP board member, and she
   Martha H. SweeneY, M.S.
                                unanimously elected. Also, t{èn knew Elayne
   *                            spoke vgry highly of hirn at our meeting'
       Deceased

                                                                                 in person or via telephone' If I had a
                                 Ken always attended our board meetings, either
                                                                                     never too busy to help me' Ken
                                 problem o, u qrr.rüorr, iwould call Ken and he was
                                                                               plus was always looking to see if
                                 attended and supported our major fundraisers,
                                 others could helP DTP.

                                    yoi.r asked anyòfre ab-' trKen;tþe answer'would be that'h9
                                                                                                is a very caring
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                                                                                                           once or twice with my husband
                                  I met'Ken;s wife Kaye ancl we had dinner together
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                                                   respect for him' I would put his chæacter up
 Ken was always straight up, an,f I have enorÏnous
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 ;;;i"ri;"tonå t moi'und proud to sav he is mv friend'
 Sincerely
trr.ct*cã-êÉqË**\
 Marcy K. KolodnY
 Chief Executive Officer

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1605 Olde Chimney Court
Raleigh, NC 27614

April 10, 2022


Honorable Liam O’Grady
United States District Judge

Subject: Character Letter on behalf of Kenneth W. Ravenell

Dear Judge O’Grady:

I am Cealie Ravenell-Williams, the second oldest sister of Kenneth W. Ravenell. I am four
years older than Ken. We grew up in a home of eleven children with our parents, Francis and
Daisy Belle Ravenell on the family farm in rural Cross, SC. Each Sunday morning, our parents
held family group prayers with us all before going to church. We were taught to respect and
obey our elders. We were taught to keep God first; hard work ethics; to look out for and to
care for family and community; and to get a good education.

My earliest memory of Ken is that he was sickly from contracting pneumonia when he was
very young. Ken stayed in the hospital for a very long time. Daddy used to pack us in the car
to go to see Ken. We could not go inside the hospital, we waved at him from a window. After
Ken returned home from the hospital, he was active and energetic. He was always eager to
play with his older brothers, inquisitive, and loved to learn.

Childhood Hopes and Dreams
Ken always wanted to be a lawyer. Some of us changed our minds about our career choices.
But not Ken. He loved to watch sports, the news, Perry Mason, Ironside, and Columbo TV
shows. He used us, his siblings, in his imaginary court room where he defended his clients
and cross-examined witnesses. He wanted to help others.

Growing up with ten other siblings, Ken and I had many debates about everyday issues and
home circumstances; in particular, which TV program to watch. The TV channel knob broke
off, so we could not change the channels. We had to solve this problem. We found pliers
wrench to fit in the knob slot to change channels. When he got the channel turner (pliers)
first, then he could watch his favorite TV shows.

We had many daily chores on the family farm. Momma and Daddy made Ken and all of us
work in the cotton, cucumber, corn, and peas fields to make a living. It was hard work; but we
worked together. We slept together in two rooms of a four-room house, sometimes in shifts.
There was no indoor plumbing. We got water from an outdoor well and used an outhouse.
The farm work made us stronger and motivated to get a good education. Against all these
odds, Ken was determined to make a better life. He followed me to a small HBCU, South
Carolina State College (now University) in 1977; graduated with a degree in Political Science
and Pre-Law with honors; then graduated from the University of Maryland Law School.
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Ken did what he said he would do. He achieved his childhood dream of becoming a lawyer
through hard work and perseverance to help others. Ken achieved great heights in the law
profession with grit, integrity, and the highest ethical standards. He honored Momma and
Daddy with great respect. He exhibits their sayings to us about hard work: “any job worth
doing, is worth doing well” (unknown author). He excelled in his educational and work
endeavors. Our family is proud of his achievements, but more importantly, we are proud of
the Man he is.

As my siblings and I left home and moved to various states, our parents kept the family
together by hosting holidays, summer gatherings, and drop-ins throughout the year at our
family home. When I moved to New Jersey in 1984, Ken and his family’s home in Baltimore,
MD became my stop over point as I traveled via car back and forth from South Carolina to
New Jersey. Ken and his family visited me in New Jersey and in North Carolina on several
occasions.

Tennis Sport
Ken and I share a passion for tennis. We watched Bjorn Borg on TV at Wimbledon in the mid
1970’s. Later, both of us learned to play the game. My husband Derrick and I played with Ken
and his children when we visited our parents in SC and when they visited us in NC. Ken was
injured in our first match in SC; then he beefed up his serve and tried again in our next match
in NC. He had us on the ropes with his fast serve; however, he injured his knee this time.
Derrick’s mom patched him up with a home remedy medication. Ken showed grit and
determination to improve his game; in the same manner that he practices his profession.

“Am I my brother’s keeper?”
Ken exemplifies the I am “my brother’s keeper” biblical phrase. When we grew up, we did not
have much in the way of material things and finances, but we knew the value of hard work.
Ken worked for a large company as a campus representative at SC State while pursuing his
bachelor’s degree. He used his earnings to help support himself and our sister Doris while
at college. After he finished law school, Ken gave aid to family and community members, both
financially and legally. He volunteers to give legal and educational advice. He likes to help
others which is evidenced by his many years in the legal profession. He also provided
financial support to our parents.

Giving Back to Community
In 2004, Ken established the Reverend Francis and Daisy Ravenell Educational
Scholarship for students who are a member of our home church, Unity Missionary Baptist.

Ken, A Family Man
During Thanksgiving, Christmas, and Summers, Ken and his family packed up a van with
overtop racks to travel back and forth to visit our family home in Cross. Ken remembers
where he comes from. He visits during good and bad times. Even with his busy work
schedule, he showed up at the bedside of our parents during their illnesses. Over the years
and even during these difficult times, he attends family graduations, weddings, and
celebrations. As soon as he arrives in Cross, he fits right back in with the local dialect. Ken is
a very caring brother and a kind person. He is mild mannered; thoughtful; slow to anger; and
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always ready to lend a helping hand to find solutions to problems. He takes care of his
immediate and extended families.
Ken is a hard worker with integrity and high ethical standards. Our parents taught us these
values. Our mother was a very positive and confident person. She was our first and best
teacher. She taught us how to work on the farm and to play sports in the backyard. She
competed against us. She taught us to keep God first; to work hard; to help others; to look
out for each other; and to persevere even when things aren’t going well. She was one of the
hardest workers that I have ever known. Our father was a minister; peaceful and
kindhearted; and a very giving person to all in the community. Our mother always compared
Ken to our father, even up to three days before she passed away in 2017, as Ken was at her
bedside. Ken’s character reflects our parents’ values and teachings.

My statements above reflect who Ken is to those who know him the best; the Ken I know. The
legal troubles that Ken is facing is very difficult for our family. I reside in Raleigh, NC, however,
I attended almost every day of the trial. I believe in God and know that through Him all things
are possible. Judge O’Grady, I pray that you show favor and mercy to my brother Ken. I ask
you to set aside the conviction. If not, please show leniency to Ken by giving him a suspended
sentence without incarceration. Ken is a role model to many in our home high schools and
churches. Please allow him to continue to inspire others and to do good productive work in
the community. Our community need good role models. I am convinced that Ken will once
again rise to the challenge to make his community a better place.

Thank you for considering my request.

Sincerely,




Cealie M. Ravenell-Williams
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EXHIBIT 31
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Christia Ravenell
575 12 th Road S, Apt. 211
Arlington, VA 22202

April 15, 2022

The Honorable Liam O’Grady
United States District Court Judge
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
Alexandria, VA 22314


Your Honor:

My name is Christia Ravenell. I am employed as Corporate Counsel at Amazon. Kenneth Ravenell is my
father. I am writing to support my father and provide information about his character for use in
consideration of his sentencing.

I would not be the person I am if not for my father. I would assuredly not be the attorney that I am. I
followed my father from the kitchen table to the office to the courtroom throughout primary school,
asking him incessant questions about the law. At his encouragement, I attended Towson Public Policy
High School, saturating myself in law and public policy classes, mock trial, and internships at a local law
firm and the Baltimore City Circuit Court. My father came to speak to my class about the legal field and
was in the front row of the gallery during my mock trial competitions. When I decided to pursue a career
in law, he was my most prominent advocate, giving me tips on the LSAT, taking me on visits to law
schools, reviewing my essays, and sending me care packages while I studied for the bar. He was adamant
that I did not work during my undergraduate, graduate, and law school matriculation and supported me
financially while I pursued higher education. When I graduated from law school, the connections I’d made
in high school helped secure my clerkship. He has always expected excellence but has fostered the space
to achieve it. His children are all productive, successful members of the community, and it is only possible
due to his influence.

I thought there would be no prouder moment than watching my father spar with the Supreme Court
justices in Maryland v. Blake but having the honor to start a firm with him is one of my most significant
accomplishments. I marveled at his mastery of the law, memorizing case numbers and statutes. His work
ethic pushed me to be a better attorney. Ask the hard questions, represent your client empathetically and
zealously and wake up earlier and go to bed later than any counterparty. Working for him, I found him to
be meticulous, hardworking, and unswervingly moral. His mentorship and our pro bono work together
have shaped my desire to provide opportunities for others to enter the legal field and continue advocating
for those in the community unable to secure representation. Working in the legal field, both with him and
afterward, I have been privileged to hear how highly others speak of him, and his reputation is unfailingly
impeccable. When hearing my last name, there was an expectation that I would be both intelligent and
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The Honorable Liam O’Grady
March 15, 2022
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diligent. My leaving Ravenell Law was facilitated because he selflessly valued my growth as an attorney and
wanted me to pursue additional skills that would lead to openings like my current role.

As cliché as it may sound, my father is one of my best friends. If I were to have children, I could only
aspire to have such a close relationship. He never fails to tell me and those he meets how proud he is of
me and my career. He is often the first to hear big news and has never missed an event. I still go to him
for advice, both professionally and personally. He is constantly busy, but my childhood and adulthood are
filled with his presence. Tennis and horseback riding lessons, church visits, baseball and basketball games,
family vacations, dinners, homework reviews, movies, and concerts all include him. And that level of love
and support is reflected in all of the relationships around him. His spouse, children, grandchildren, siblings,
nieces and nephews, extended family, friends, and parents before their passing all receive that level of
dedication.

I am proud to call Kenneth W. Ravenell, Sr. my father, and wholeheartedly offer my support throughout
this process. I implore the Court to consider the information provided above. It is my fervent hope and
prayer that you will set aside this conviction; if not, I pray you will not incarcerate my dad as he is a good
man. Thank you to the Court for its indulgence.



Sincerely,




Christia Ravenell
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April 11, 2022



THE HONORABLE LIAM O’ GRADY
UNITED STATES DISTRICT COURT JUDGE
ALBERT V. BRYAN U.S. COURT HOUSE
401 COURTHOUSE SQUARE
ALEXANDRIA, VA 22314


       My name is Erica Jones, and I am the eldest daughter of Kenneth Ravenell. I have
worked in higher education for more than a decade in both the public and private sectors.
Recently, I have retired myself from higher education to focus on and homeschool my 7-year-old
son. I am submitting this letter for careful consideration of my father, Ken Ravenell’s, character
as you make your decision in his upcoming sentencing.


       Although I am not Ken’s biological daughter, he is the only father I’ve known for most of
my life. My dad came into my life when I was elementary school aged. He married my mother
who had two children from a previous marriage--me and my younger sister, Dana. From the
very beginning, my father took great care in building a relationship with my sister and me. He
spent time with us, and he loved us as his own. To fully express his love for us, after marrying
our mother, my dad adopted us. This act not only expressed his commitment to taking over the
responsibility of being our father, but it also showed his willingness and devotion to investing in
our lives in a deep and meaningful way for the long haul.


       Because of my father, I have exceeded the potential I ever thought possible for myself as
a child. He set the bar for excellence in every way. He pushed my sister and me to be the best
we could be no matter the endeavor. Education and the pursuit of excellence was the standard
in our household, and honesty, integrity and justice were valued and demonstrated. When we
were younger, there were many occasions when my dad took us to court with him when he
worked for the Baltimore City State’s Attorney’s Office, and so much of what I saw gave me an
appreciation for our legal system and for the valuable work my father did. We were encouraged
as children to stand up for what was right and to get involved if we believed in a cause. The


2210 Snydersburg Road, Westminster, MD 21157
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lessons I received as a child have carried over into my adulthood and have made me the person
I am today.


       On a more personal level, my father has always been there for me. He taught me how to
ride a bike, and he was there to walk me down the aisle when I married. He has been present
for the birth of my children, and he’s a great grandfather. He’s attentive and loving, and he has
talked and guided me through so many major life decisions. His advice is sound and always
steeped in love. No matter how busy my dad was in his career, he has always placed his family
first. He has been there for his immediate as well as extended family, and he is generous with
his time, love, and resources.


       I humbly ask that you please take into consideration what I have shared about my
father’s character. He has done so much good not only in his career but as a father,
grandfather, father-in-law, and son. My father loves the law, and he has always impressed upon
his children that justice always prevails. I am hopeful that it will continue as it relates to his
conviction.



SINCERELY,



ERICA DANIELLE JONES




2210 Snydersburg Road, Westminster, MD 21157
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Dana Ravenell Cheeks
10002 OakGlen Road
Randallstown, MD. 21133

April 12, 2022

The Honorable Liam O’Grady
United States District Court Judge
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
Alexandria, VA 22314


Your Honor:

My name is Dana Ravenell Cheeks, and I am the middle daughter of Kenneth W. Ravenell. I am currently
employed as a Treatment Coordinator at a surgical dental office and as a real estate agent. I obtained my
real estate license in 2015. I am writing to support my father and provide information regarding his
character for consideration as you make a decision regarding sentencing.

My father has always been something of a superhero to me. I’m sure that’s partly because of the way our
relationship began. For most people, their father doesn’t choose them. Luckily enough for me, my dad
picked my sister and me. I was only a year old when my parents met, so I have little to no memory of my
biological father. I still remember being incredibly confused when my father, a few years later, asked if I
wanted him to officially be my father. My immediate thought was – aren’t you already? From the very
beginning, my father went above and beyond to make sure my sister and I felt confident in the love he
had for us. Adopting us was a gift he gave me that I will never be able to repay.

I would most certainly not be the person I am if not for my father. My father’s tough love and unwavering
support kept me focused and out of a lot of trouble growing up. I was very outspoken and a bit of a wild
card in my teenage years. However, my father maintained a standard for excellence, and he accepted
nothing less than my best. It created a drive and determination to succeed that I still tap into today. I am
outspoken because of my dad. I am a fighter and a leader because of my dad. I have a need to win and be
the best at anything I do because of my dad. Without my father’s guidance and influence, I would not be
the wife, sister, mother, or professional I am today.

The day my husband proposed was terrific. However, later that night, I was overwhelmed with tremendous
emotion. At that moment, I realized I would have to change my last name. For some, changing their name
is a rite of passage, a way to honor their husband. However, for me, it felt different; I felt sad. My last
name was not inherited; it was given to me by my dad. The name Ravenell has always meant so much to
me. The level of pride I feel being a Ravenell is something I can’t put into words. My father’s leadership
in our home and his accomplishments and reputation as an attorney in our community would make anyone
proud to call him Dad. Ultimately, I decided to change my middle name legally to Ravenell because I
wanted my dad to know he was chosen, the same way he had chosen me so many years ago.
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April 12, 2022
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No matter how busy my father has been throughout his career, he has always put his children first. He has
always shown up for every pivotal moment in my life. He was there for the birth of my sons, walked me
down the aisle, has seen every stage play, watched every tennis lesson, wiped most tears. My dad being
around is a necessity. He is the best grandfather to my children and has become one of my greatest friends.
He is my sounding board and my place of peace and comfort. It has been unbearable to imagine the
thought of my father not being around to take part in our family’s future memories.

I am humbly asking the Court to consider the information regarding my father’s character during
sentencing. I truly hope that justice prevails and that my father is allowed to stay at home with his family.

Thank you to the Court for its consideration.



Warmest Regards,


Dana Ravenell Cheeks
Dana Ravenell Cheeks
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                                                  April 14, 2022

Kenneth Wendell Ravenell Jr.
4650 Riverstone Drive
Apt. 301
Owings Mills, MD 21117


The Honorable Liam O’Grady
United States District Court Judge
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
Alexandria, VA 22314


Your Honor:

        My Name is Kenneth Wendell Ravenell Jr. I am employed at OffitKurman, P.A. I am the only son
of Kenneth Ravenell and have known him for my whole life of thirty years. I am writing this letter in
support of my father and to offer insight on his character to be taken into consideration for his sentencing.

        There is no bond as important for the formation of man’s life as that of the one between Father
and Son. My father is the man upon which I model my life. My whole life he has been a stalwart example
of the determination and hard work required to succeed in life and reach one’s aspirations. He has always
pushed me to be the best he knew I could be. And not simply through the sternness of a father, but with
love and support that only someone like him could offer. We bonded over sports in my youth as he always
encouraged me to be active. And not once did he ever miss a game of mine. Not one baseball game, soccer
game, football game, tennis match or rugby match was ever missed. I could always find him sitting and
cheering in the stands or, if he could manage it, on the sidelines there to offer advice and support up
close. He taught me to never give up and to always put the work in. Even showing up to hobbies he didn’t
understand or engage in himself, such as video game tournaments or anime conventions, just so I would
always know he was there for me.

        I haven’t always been as confident in myself or as successful as I am today. In my youth I was
somewhat lost on the path to adulthood. And my father, in more ways than one, helped lead me back
onto the path to manhood he first set me on. At the age of 21 my father reached out to me and offered
me a job with his law firm. And this wasn’t a simple act of nepotism to keep an eye on his son. He tossed
me into the deep end of the American workforce and expected me to contribute and prosper like any
other person. The work was hard and the hours often long, but I am better for it. To this day, though I no
longer work with my father, I remain in the legal field doing administrative work. And through the lessons
of hard work, he passed on to me I have earned the respect of any colleague who has worked with me. It
was through the work in this field that I met my wife, Tiffany Ravenell. I truly owe my current life and all
the happiness I have now to my father, simply because he never gave up on me.
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Karsyn Sullivan

15213 Jarrettsville Pike

Monkton, MD 21111

April 15, 2002

The Honorable Liam O’ Grady

United States District Court Judge

Albert V. Bryan U.S. Courthouse

Alexandria, VA 22314

My name is Karsyn Sullivan. I am 19 years old, I am a second-year student at the University of
Tampa, and Kenneth Ravenell is my stepfather. He has been in my life since I was four and he
officially tied the knot with my mother when I was twelve. I am submitting this letter in support
of Kenneth Ravenell, and to provide the judge with information about his character to take into
consideration for his sentencing.

Kenneth Ravenell is one of the most selfless people I have ever met. Even though he is not my
biological father, he has played the fatherly role in my life for as long as I can remember. Ever
since he has been in my life, he has worked day in and day out with very little rest to make sure
he could give his family a beautiful life. I have never seen someone as dedicated to his work and
his family as he is. Even though he was always working, whenever I needed him, he was always
there; cheering me on during my tennis matches, leaving work to bring me something I left at
home, always telling me he is proud of me when I most needed to hear it. He has made me the
person I am today, and I cannot thank him enough for that. I do not think there has ever been a
time that I have called him and he did not answer the phone. One thing I admire most about him
is how he’s been able to put on a brave face throughout this whole trial. Every time I see him, he
has a smile on his face and assures me that everything will be ok. I cannot imagine how hard it
must be going through something like this, and even so, he continues to reassure us so that we
will be ok. That’s how much his family matters to him.
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His kindness spreads to more than just his family. Many times, I have had friends in need of
legal assistance or help pursuing a legal career, and every time, he would help them in every way
he could no matter how busy he was. Everyone who meets him leaves with a smile on their face.
When I get married, I pray that I meet someone who treats me the way Kenneth treats my
mother. He makes it so clear that she is the center of his world and that he would do anything for
her. Many of my friends were confused when they came over to visit because they were not used
to seeing two people still be so in love after so much time. He showed me what love really is and
what it should look like.

His legal career precedes him. Almost every time I mention his name, people know who he is. I
love seeing him work because I’ve seen how far he’s come and how much he loves what he
does. Through all the difficulties that having this position has brought him, I have never seen him
give up or falter. My proudest moment was seeing him speak on behalf of Korryn Gaines. With
so much hatred and injustice in the world, it meant so much to me that he was doing all he could
for a woman who was taken from this world so soon. He defends people who cannot defend
themselves and that is what I respect most about him.

Adjusting to college has been hard for me, but never once did he give up on me. He always
reminds me of how far I’ve come, how smart I am, and that I am not in this alone. I would not be
half as far as I am without him, and I owe him so much for that. I hope you will consider all the
information I have given Your Honor. Kenneth Ravenell is such a beautiful soul and I pray that
you will be able to put the conviction to rest or will at least not incarcerate him. He does not
deserve that. Thank you

Sincerely,

Karsyn Sullivan

Karsyn Sullivan
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                                                                              Karita Brown
                                                           Karita.E.Browm.MS@gmail.com
                                                                             240-452-0725
                                                                        Stuttgart, Germany
April 10, 2022

Hon. Liam O'Grady

United States District Judge

Subject: Character Letter on behalf of Kenneth W. Ravenell


Dear Judge O’Grady,

My name is Karita Brown, and I'm the eldest daughter of Mr. Ravenell’s younger sister
Doris Ravenell-Brown. Since he was the 8th child and my mother was the 9th, they
grew up quite closely being that they were only a year apart. Once they settled down,
he ended up in Maryland and my parents ended up in Northern Virginia, so I’ve had the
benefit of growing up within a very close distance to him throughout my formative years.
He is a giving and family-oriented type of person. From showing up to my basketball
games, having the family come together for dinner and swimming at his house, and just
being a great uncle who balances fun with guidance.

I had the opportunity to truly get to know my uncle the summer I was in graduate school
and was commuting back and forth from Fairfax, VA to Woodlawn, MD daily for my
summer internship. I made it a few weeks with this routine before I called him out of the
blue and asked if I could crash at his place during the week because the 3-hour daily
commute was brutal. He didn’t hesitate, just said to double check with my aunt and to
bring a bag. Over the course of that summer my uncle was constantly looking for ways
to introduce me to new things in the world, like the time he took the whole family to an
Orioles game just because I mentioned that I had never attended an in-person game. I
still have the t-shirt from that Orioles game all these years later.

The summer I spent with my uncle turned out to be great for me beyond just
significantly cutting down my commute. It gave me the opportunity to come home and
ask my aunt and uncle questions about corporate life while actively engaging in my
internship. Those conversations of guidance have benefited me to this day. That
summer meant so much to me because it afforded me the opportunity to spend quality
time with my extended family. My parents and my younger sister received relocation
orders to Georgia while I was in undergraduate school, so they no longer resided in the
area. I know it made my mother feel a lot better to know that I was in close contact with
Uncle Kenny and the rest of my Baltimore family when she was so far away. All of
these are just examples of how my uncle has always operated with a giving heart and
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Montrell Lee
127 Neal Blvd.
Vanceboro, NC 28586

April 9, 2022

Hon. Liam O’Grady
United States District Judge

Dear Judge O’Grady:

I have had the pleasure of knowing Mr. Kenneth Ravenell for thirteen years. Upon meeting Mr. Ravenell, I
was only a visitor as I was dating his niece at that time. While not officially in the family, Mr. Ravenell took
time to mentor me as a young educator about the impact that I would have as a young black male on so
many lives and to not take that for granted. In 2013, he officially became my uncle through marriage, but I
can say that he treated me as a family member way before that, mentoring and advising me as a young
educator.

I currently serve as the Principal of West Craven High School in Vanceboro, NC. Mr. Ravenell’s
discipleship of me early in my career still echoes in my ear as I lead not only students, but professionals.
Creating that balance between working hard but keeping family and people first is one of the lessons that
still stands out to me today. I remember the talk he gave me during a family trip in 2012. He emphasized
to me, and other nephews present, the value of being men of integrity who work hard to provide for our
families while still being present in the home. He mentioned how his upbringing with the values of our
grandparents guides him to this day.

While serving as an Assistant Principal at West Craven High School in 2016, I began mentoring a black
male student with amazing potential but little guidance, therefore leading him to often be in my office for
less positive things. His ability to advocate and speak his truth was quite intriguing. I remember
encouraging the young man to research future opportunities and gain a vision for what he wanted to do in
life. Becoming a lawyer was one career that I thought would naturally fit his ability to advocate. In
conversation with Mr. Ravenell during one of many family events, he mentioned that he would be willing
to speak to the young man via phone if I ever wanted him to. While I never scheduled that call, the fact
that he was willing to take time out of his busy schedule to mentor a young man that needed positive role
models in his life speaks to who he is as a man and uncle.

I have witnessed Mr. Ravenell go above and beyond to support and lead his family. He exemplifies so
much of what I aspire to be as a man and what I encourage so many of my students to be. His impact on
my life is just one example of the impact he has had on many. I consider myself a product of grace and
mercy. If it was just for my work alone, I wouldn’t be where I am.

Judge O’Grady, please show grace and mercy on Uncle Ken and set aside this conviction.

Sincerely,



Montrell Lee
Nephew of Mr. Kenneth Ravenell
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April 15, 2022

To: The Honorable Liam O’Grady
United States District Court Judge
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
Alexandria VA 22314


From: Yolanda Moore
2820 Stagecoach Road
Thomson GA 30824




Honorable Liam O’Grady,


       My name is Yolanda Moore and I am a self employed Handyman in
Thomson Georgia. I am related to Kenneth Ravenell by marriage. I first
met Ken in 2006 on a visit to Baltimore Maryland to visit my Aunt Kaye. He
was the same then as he is today, Charismatic, Kind, Positive, Grounded,
Generous, Full of Life, A hard worker, Family oriented, Dedicated, and
Brilliant just to name a few of Ken’s many great qualities. I am petitioning
Your Honor to consider the words of Ken’s loved ones as you make your
ruling. We have been devastated individually and collectively by these
investigations and accusations which have no substantiating merit. Please
forgive any bias you presume we may communicate but take into account
the consistent thread of redeeming characteristics that will be evident.

      Ken is the kind of person who will go the distance no matter what that
requires. He works tirelessly but always makes time for family. He always
includes me and my daughters whenever there is a family function or
holiday. He gives of himself and asks nothing in return. Ken is very close
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to his siblings and they were raised to support one another in Love and that
is rare today. They all maintained a presence during the trial and I am sure
you witnessed for yourself. I came up for trial but was denied entry
because I am not vaccinated. My aunt Kaye and I are very close and I
wanted to lend my support. Because of this closeness I have come to know
Ken very well. Probably more than my other family who live in Arkansas
and parts of Oklahoma. We all look up to Uncle Ken because he is a
successful professional and he is so much like us. He comes from humble
beginnings and he doesn’t look down on others. He inspires us all and we
are better because he came into our family. He has exposed us to new
experiences and made us very proud to call him family.

      While in Arkansas for Thanksgiving a few years back my
Grandmother suddenly passed away. One day we were having
Thanksgiving Turkey with all the trimmings and the next day we were all
grieving as we began planning a funeral. Unfortunately there was family
drama and we had no place to gather after the funeral. Somehow on such
short notice Ken was able to book the most spacious and accommodating
venue overlooking the Mississippi river that evening. He stepped up to the
plate, took leadership and provided us with some much needed family time.
As we were eating and fellowshiping, fireworks brilliantly thundered through
the night sky. The view was magnificent from the 12 foot floor to ceiling
wall of windows on the top floor of the Peabody Hotel. One of the displays


      Was a heart. Another firework was a smiley face. The oohs and
ahhs resounding over and over in the room that night were of sadness and
awe, childlike wonder and a sense that our Mother, Grandmother and
Matriarch was smiling down with love. And a sense of peace and gratitude
settled over the room. Those moments would have never happened had it
not been for Ken. We all joked to Ken, “Hey did you do the fireworks too?”
His generosity and heart created a special moment for me that is
monumental.
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       Ken does things like that for others and it’s just who he is. He doesn’t
need any special accolades or any prompting. It’s refreshing to know
someone who has their priorities in order. Someone who is real and does
the right things at the right time for the right reasons. Ken became a
Lawyer because of Thurgood Marshall. He was inspired to fight the good
fight and to be exceptional despite the conditions of the Civil Rights
Movement he witnessed being raised in the South. Ken’s ambitions,
preparation and impeccable career put him on the right side of the Law. I
pray that your Wisdom and discernment have been equitably sharpened.
Thank you Your Honor for giving me this opportunity to be heard.


                                                Yolanda Moore
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                                                                      Mrs. Karen Ashton-Sterling
                                                                      4227 Herrera Court
                                                                      Randallstown, MD 21133

                                                                       AprilL2,2O22




The Honorable Liam O'Grady
United States District Court Judge
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
Alexandria, VA 223L4

Your Honor,

My name is Karen Ashton-Sterling, I worked as a licensed Respiratory Therapist for 20 years in
Baltimore Cíty and County. I currently work as a Senior Sales Specialist for Amgen
Pharmaceutical Company, and I am writing this letter on behalf of Kenneth Ravenell.

I have known Ken personally for over 14 years. Ken is a wonderful friend who is more than a
friend, he is the brother I never had. My brother died when I was very young, and I did not
have a familial bother until I met Ken. Ken displays his kindness in not what he says but in what
he does for family and friends alike. Always quick to listen, offering advise, and support he has
helped me and my family with several stressful situations where the outcome could have been
devastating. One example is my eldest son who when a teenager was arrested due to stealing
video games from the store he worked at part-time. My husband and I contacted Ken right
away to find out what to do. Ken represented our son at the hearing and presented
information to the court that enabled the charges to be lowered to a misdemeanor with
probation and restitution. Our son was able to go on and apply to college wíth no record and
successfully finished school with two degrees and never doing anything else against the law
again. Because of that experience, and the investment Ken took to ensure that my son had a
chance to take responsibility for his actíons, and that a record of wrongdoing did not have to
deter him from having attended college, our son is now a working responsible adult who is
thÍnking of going back to school to study law to help others who have made místakes as a
youth.

Ken has a strong moral character due to what I believe is because of his Christian upbringing
and large family. Family means everything to Ken as displayed by his involvement with his adult
children and grandchildren. His beautiful wife Kaye is the apple of his eye and his rock. Ken is a
faithful husband who does everything he can to be the moral compass for his family.

Believing that everyone has a right to competent and fair representation Ken has helped to
guide and mentor African American young men who have made mistakes which has landed




                                            Non-Amgen
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some in prison. He has represented many of these young men pro bono. Ken has represented
those without a voíce, the families of those who often don't have the means to pay but are
seeking justice for themselves or their loved ones. Ken has worked with several organizations in
his church and in the community. He has worked with the lnternational Dyslexia Association
{lDA} for many years by giving his time and talent to those less fortunate, believing that by
doing sa the community at large will be better when everyone has a fair chance to succeed.



Ken is a kind, respectful, loving, smart, and talented man, who despite the violation of the law
which he has been convicted of, is one of the most decent human beings I have been blessed
with having in my life. I cannot image any scenario where Ken would risk the love and respect
of his family, friends, or God for self-gain. Ken has so much love and respect for the law, he
has worked hard to represent his clients with the very best he has to offer. Kens reputation in
the cornmunity is as a fighter for justice, respected and fair. For all these reasons l'm asking
your Honor for leniency.


Res




Ka     Ashton-Sterling




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April 12, 2022


Honorable Liam O’Grady
United States District Judge


Dear Judge O’Grady:

Thank you, your honor, for allowing me this opportunity to write on behalf of Mr. Kenneth
Ravenell’s character.

My name is Rev. Shirley Ann Spann, a minister of the gospel and technical documentation
professional, who resides in Ashburn, Virginia. I am a native of Cross, South Carolina, where I
have known Mr. Ravenell, who is also from the small town. I have been a classmate of Mr.
Ravenell throughout his early school years as we attended the same elementary, middle, and high
schools, graduating from Cross High School in 1977. Throughout my years of knowing Mr.
Ravenell, I often recall how he dreamed of becoming a lawyer. Over those years as our teachers
would ask about our future goals, classmates would often change their minds about future
pursuits (if known at all); however, Mr. Ravenell never flinched in his desire. He wanted to
become a lawyer and emphasized it every time he was asked about future aspirations.

Becoming a lawyer was a big deal other classmates thought because we all came from such
humble beginnings. In fact, with Mr. Ravenell and so many of his classmates coming from the
small farming region of Cross, it was not surprising for some to wonder, “Can anything good
come out of Cross?” Well, Mr. Ravenell is a great product of that small, rural city, who makes us
all so very proud as we witnessed him being such a great example of what believing in oneself
can help you accomplish.

However, there was no reason to doubt Mr. Ravenell’s ability to achieve his goal of becoming a
lawyer if he continued to apply himself as he demonstrated in his school works. Mr. Ravenell
displayed such high intelligence and sharpness as a very well-liked student with admirable
upbringing. Therefore, it was not surprising to anyone that he earned his selection of Class
Valedictorian as we graduated in 1977. He went on to study at South Carolina State University in
Orangeburg, South Carolina, and so did I.

I observed and watched Mr. Ravenell from afar and observed him as he joined the Kappa Alpha
Psi fraternity in college. We both went on to graduate from South Carolina State University in
1981, moving forward in different directions. After graduating cum laude, Mr. Ravenell went on
to pursue a law degree to prepare himself for his ultimate career goal of becoming a lawyer.
However, because I believed Mr. Ravenell’s attitude, character, and intelligence would open
many doors for him and that “something good can come out of Cross,” I awaited to learn of his
career achievements.

I was able to follow Mr. Ravenell’s career path from afar via his sister, Mrs. Doris Ravenell-
Brown. His sister and I are very good friends and once attended the same church in Herndon,
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Virginia. I often commented to her on just how intelligent her entire family is then would ask
about Mr. Ravenell’s career. I can’t begin to describe the joy and pride I felt after learning that
Mr. Ravenell was named Super Lawyer of Maryland. I was very happy to share the article with
family and friends. The article about a native of Cross, South Carolina, was such an inspiration
to so many who aspire to achieve their dreams, demonstrating that you can achieve your goals
and make a difference in the lives of others, despite how one’s unpromising socioeconomic
background may be in the beginning.

Mr. Ravenell’s life is inspirational in other ways as he has not forgotten people and the
institution that helped nurture and shape his mind for future success. Mr. Ravenell was the
honored speaker for his achievements during the Founder’s Day program at his alma mater, S.C.
State University, in 2014. Mr. Ravenell acknowledged the role the historical black college played
in his life. He made a donation to the university and wanted it to continue to provide higher
educational opportunities to African-American students.

 As Mr. Ravenell’s career demonstrates and as he has also argued a case before the highest court
in the nation, the United States Supreme Court, one can answer, “Yes, good people and things
can come out of small, rural areas, where the socioeconomic backgrounds of its residents can
seem unpromising. Mr. Ravenell is a shining example of hard work, compassion, and
determination of how one can overcome odds and achieve his or her goal in life to make a
difference in the lives of others, despite where one begins, despite how humble those beginnings
are. Mr. Ravenell’s accomplishments attest to this fact as he always mentions being the son of a
sharecropper. Our beginnings are what they are, but one can change the trajectory of his or her
path through hard work. This is what Mr. Ravenell’s life exemplifies and inspires others to climb
upward to help make a difference in the lives of others as he has been doing throughout his
successful career.

Therefore, Judge O’Grady, I submit this character letter to you on behalf of Mr. Kenneth
Ravenell, who is such a great inspiration to so many for the excellent work he has accomplished
in and out of the court rooms. I ask you to please show mercy to Mr. Ravenell and set aside the
conviction. Once again, thank you for this opportunity to write on behalf of Mr. Ravenell’s
character.

Respectfully submitted,



Rev. Shirley A. Spann
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April 14, 2022

Patricia Trikeriotis
14901A Dunstan Lane
Monkton, MD 21111

The Honorable Liam O’Grady
United States District Court Judge
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
Alexandria, VA 22314

Dear Judge O’Grady:

I am Patricia Trikeriotis, and I have been employed with the Circuit Court for Baltimore City for over 30
years, and I am currently the Chief of Court Reporting Services. I have known Ken in a professional
capacity for that entire time and on a more personal level for the past 17 years since he became
involved with and then married to one of my best friends, Kaye Ravenell. I am writing in support of Ken.
As you have the very difficult job of sentencing him, I hope and pray that you will take into consideration
the positive impact he has had on the community with his life dedicated to the law and defending
others, as well as his love for family and friends.

Over the past couple of years while this matter was pending, you can only imagine the whispers and
comments I heard at the courthouse. It was extremely disheartening to see that people are so quick to
condemn someone they held in the highest regard merely based on newspaper articles, gossip, etc.
Quite frankly, I defended Ken’s character at every opportunity, and I continue to do so today even after
his conviction. Kenneth Ravenell is generous with his time and heart and has the utmost respect for the
law. In fact, he has spent the majority of his life dedicated to the law, whether that be crafting legal
arguments, researching applicable case law, or zealously representing his clients.

I personally know several people that Ken represented pro bono because he wanted to help a family
friend in need or just someone wrongly accused. No matter the circumstances of his representation,
Ken spends countless hours prepping his cases, and then fights tooth and nail to protect his client’s
rights in court. As a court reporter, it was a love-hate feeling to see him walk into the courtroom. It
would be extremely interesting to hear his legal arguments, but I knew it would be a long day because
he would not give up until he made his point. More often than not, his hard work paid off with a motion
granted, an acquittal, or a judgment in his client’s favor.

Ken’s reputation in the community is just as esteemed as his reputation in the legal world. He is a family
man with great faith and extremely generous to those in need. He seems to have a passion for helping
young people, often taking them under his wing and supporting their dreams for future careers. I
witnessed this on countless occasions, including with my own sons. He has been a role model for many,
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and it breaks my heart to think that could lose his freedom and what a devastating impact that would
have on so many.

I still believe in Ken and his character. I know he is personally devastated, and I believe he is still in shock
that the law he has spent his life upholding, defending, and loving has forsaken him. I know that he has
been convicted, but I hope that you will grant the motion for new trial, or at the very least allow him to
remain free so he can prepare for his appeal. If you feel you must pass sentence, I beg of you to take
into consideration all that Ken has done in his life to help others, and I know the world is a better place
with him in it. What a waste of a brilliant mind and kind soul it would be if Ken were to be incarcerated
for even a minute.

Respectfully,
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    April 14, 2022

    From: Jeremy and Nicole Smith
          3130 Freestone Court
          Abingdon, Maryland 21009

    To:   The Honorable Liam O’Grady
          United States District Court Judge
          Albert V. Bryan U.S. Courthouse
          401 Courthouse Square
          Alexandria, VA 22314

    Dear Judge O’Grady,

    We are writing to you in reference to Kenneth Ravenell,
    a friend of ours for over 15 years. I, Nicole, have been
    a verbatim court transcriber for 12 years, as well as
    raising two children. My husband, Jeremy, is the Acting
    Director of Administration for the Harford County Health
    Department.

    We met Ken through his wife, Kaye. Over the last 15
    years, we have spent a considerable amount of time with
    Ken getting together for meals, family game nights,
    birthday celebrations, many holidays, and yearly
    vacations. We consider him a close and valued friend.

    We are writing to you to express our support for Ken. He
    has had such a positive influence in our children’s
    lives. We have a daughter who is 23 and in graduate
    school, and a 17 year old son in high school. He just
    has a way of making people, especially our children, feel
    important. He takes time to ask them questions,
    encouraging them in whatever they’re undertaking at the
    time, and laughs with them. He remembers what they have
    said in the past, making them feel heard.

    We have also been able to witness what type of person he
    is with his own children, his step-daughter, his wife,
    her family and, of course, our family. His love for his
    family and friends is obvious if you spend any time with
    him.

    Several years ago there was a situation in which we
    needed a lawyer. We reached out to Ken, and he
    immediately, and without hesitation, offered his services
    pro bono. We are so grateful for his help in that
    matter.



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    We know he has an incredible reputation within the legal
    community. He’s a well-respected member of the Maryland
    Bar, and practices law throughout the nation, and he
    works tirelessly to represent his clients.

    My plea to you is that you will find it in your heart to
    show mercy to Ken and allow him remain free while he
    works on his appeal. And if you find it necessary to
    impose a sentence, I hope it will not involve a period of
    incarceration.

    Thank you for taking the time to read this letter.

    Respectfully,

    Jeremy and Nicole Smith




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